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                                                                         UNITED STATES BANKRUPTCY COURT
                                                                        MIDDLE DISTRICT OF NORTH CAROLINA

 Fill in this information to identify your case:


 Debtor 1:               Artis                                  Lewis                     McDougald                    Check if this is an amended plan,
                         First Name                             Middle Name               Last Name                 and list below the sections of the
                                                                                                                    plan that have changed.
 Debtor 2:
 (Spouse, if filing)     First Name                             Middle Name               Last Name

 Case Number:
 (If known)

 SSN# Debtor 1: XXX-XX-                     xxx-xx-1841

 SSN# Debtor 2: XXX-XX-



                                                                               CHAPTER 13 PLAN


 Section 1:           Notices.

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be confirmable. You must
check each box that applies in § 1.1 and 1.3 below. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 4, which may result in a             Included                Not Included
              partial payment or no payment at all to the secured creditor.
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest will           Included                Not Included
              be done by separate motion or adversary proceeding.
 1.3          Nonstandard provisions set out in Section 9                                                       Included                Not Included


To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You will need to file a proof of claim in order to be paid under any plan. Official notice will be sent to Creditors, which will provide the name and
address of the Trustee, the date and time of the meeting of creditors, and information regarding the filing of proofs of claim.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one. If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least seven days before the date set for the hearing on confirmation. You will receive notification from the Bankruptcy Court of
the date set for the hearing on confirmation. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankruptcy Rule 3015.

The applicable commitment period is:

                  36 Months

                  60 Months

The amount that allowed priority and non-priority unsecured claims would receive if assets were liquidated in a Chapter 7 case, after allowable
exemptions, is estimated to be $ 0.00 .

 Section 2:           Payments.

2.1 The Debtor will make payments to the Trustee as follows:


APPENDIX D                                                                            Chapter 13 Plan                                       Page 1
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        $1,250.00 per Month for 58 month(s)

        Additional payments               NONE

2.2 The Debtor shall commence payments to the Trustee within thirty (30) days from the date the petition was filed. If fewer than 60 months of
     payments are specified, additional monthly payments will be made to the extent necessary to pay creditors as specified in this plan.

 Section 3:           Fees and Priority Claims.

3.1 Attorney fees.

          The Attorney for the Debtor will be paid the presumptive base fee of $ 4500.00 . The Attorney has received $ 0.00                          from the
        Debtor pre-petition and the remainder of the fee will be paid monthly by the Trustee as funds are available.

           The Attorney for the Debtor will be paid a reduced fee of $      . The Attorney has received $              from the Debtor pre-petition and
        the remainder of the fee will be paid monthly by the Trustee as funds are available.

              The Attorney for the Debtor will file an application for approval of a fee in lieu of the base fee.

3.2 Trustee costs. The Trustee will receive from all disbursements such amount as approved by the Court for payment of fees and expenses.

3.3 Priority Domestic Support Obligations (“DSO”).

        a.        None. If none is checked, the rest of Section 3.3 need not be completed or reproduced.


3.4 Other Priority Claims to be Paid by Trustee.

        a.        None. If none is checked, the rest of Section 3.4 need not be completed or reproduced.

        b. To Be Paid by Trustee

                                              Creditor                                                     Estimated Priority Claim
 Internal Revenue Service                                                                                                                                    $0.00
 Lee County Tax Office                                                                                                                                       $0.00
 NC Department of Revenue                                                                                                                                    $0.00

 Section 4:           Secured Claims.

4.1 Real Property – Claims Secured Solely by Debtor’s Principal Residence.

        a.        None. If none is checked, the rest of Section 4.1 need not be completed or reproduced.
        b.        Maintenance of Payments and Cure of Default.

              Installment payments on the claims listed below will be maintained and any arrearage will be paid in full. Proofs of claim should reflect
              arrearage amounts through the petition date. For accounts that are in default, the Trustee will commence disbursements of installment
              payments the month after confirmation. Any filed arrearage claim will be adjusted to include post-petition installment payments
              through the month of confirmation.

              Amounts stated on a filed proof of claim, and as adjusted to include post-petition payments through the month of confirmation, will
              control over any contrary amounts listed below for the installment payment and the arrearage. Additionally, the Trustee will adjust the
              installment payment in accordance with any Notice of Mortgage Payment Change filed under Bankruptcy Rule 3002.1.

              The Trustee is authorized to pay any post-petition fee, expense, or charge for which notice is filed under Bankruptcy Rule 3002.1 if no
              objection is filed to such fee, expense, or charge.

             Creditor                                    Address of Residence           Current      Installment        Estimated                  If Current,
                                                                                          Y/N         Payment           Arrearage                    Indicate
                                                                                                                        Amount on                  by Debtor
                                                                                                                       Petition Date               or Trustee




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             Creditor                                    Address of Residence                Current        Installment         Estimated         If Current,
                                                                                               Y/N           Payment            Arrearage           Indicate
                                                                                                                                Amount on         by Debtor
                                                                                                                               Petition Date     or Trustee
 State Employees                    5150 Swanns Station Road Sanford, NC                    N                   $486.00              $2,673.92 Trustee
 Credit Union                       27332 Lee County
                                    value = tax

        c.        Claims to be Paid in Full by Trustee

             Creditor                Address of Residence               Estimated               Monthly                   Monthly                 Contractual
                                                                          Claim                 Payment                    Escrow                  Interest
                                                                                                                          Payment                    Rate
 -NONE-

        d.       Request for Valuation to Treat Claims as Totally Unsecured. This will be effective only if the applicable box in Section 1.1. of this plan is
              checked.

             Creditor                  Address of Residence              Estimated               Value of              Amount of                  Amount of
                                                                           Claim                Residence             Claims Senior                Secured
                                                                                                                      to Creditor's                 Claim
                                                                                                                          Claim
 -NONE-

4.2 Real Property – Claims Secured by Real Property Other Than by Debtor’s Principal Residence AND Claims Secured by Debtor’s Principal
     Residence and Additional Collateral.

        a.        None. If none is checked, the rest of Section 4.2 need not be completed or reproduced.


4.3 Personal Property Secured Claims.

        a.        None. If none is checked, the rest of Section 4.3 need not be completed and reproduced.

        b.        Claims Secured by Personal Property to be Paid in Full.

             Creditor                        Collateral                 Estimated               Monthly             Interest        Adequate      Number of
                                                                          Claim                 Payment               Rate          Protection     Adequate
                                                                                                                                     Payment       Protection
                                                                                                                                                   Payments
 American Credit                    2007                                        $9,869.00              $203.38 7.50%                     $98.69 6 months or
 Acceptance                         Harley-Davidson                                                                                             until such time
                                    FLHRSI - Touring                                                                                            plan is
                                    3803 miles                                                                                                  confirmed
                                    value = nada
                                    Male debtor's main
                                    transportation
 United Auto Credit                 2013 Dodge Ram                          $15,037.00                 $309.88 7.50%                   $150.37 6 months or
 Co                                 1500 Quad Cab                                                                                              until such time
                                    Tradesman                                                                                                  plan is
                                    1520000 miles                                                                                              confirmed
                                    value =nada clean
                                    retail
                                    non-filing spouses
                                    main
                                    transportation

        c.         Claims Secured by Personal Property excluded from 11 U.S.C. § 506 being either (i) incurred within 910 days before the petition date
               and secured by a purchase money security interest in a motor vehicle acquired for personal use of the Debtor, or (ii) incurred within one
               (1) year of the petition date and secured by a purchase money security interest in any other thing of value. The filed claim must include
               documentation to show exclusion from 11 U.S.C. § 506 in order to be paid in full.



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             Creditor                        Collateral                     Estimated                     Monthly        Interest        Adequate             Number of
                                                                              Claim                       Payment          Rate          Protection           Adequate
                                                                                                                                          Payment             Protection
                                                                                                                                                              Payments
 -NONE-

        d.         Request for Valuation to Treat Claims as Secured to the Value of the Collateral and Any Amount in Excess as Unsecured. This will be
               effective only if the applicable box in Section 1.1 of this plan is checked.

      Creditor             Estimated             Collateral          Value of      Amount of          Amount of     Monthly         Interest    Adequate Number of
                           Amount of                                 Collateral      Claims         Secured Claim   Payment           Rate     Protectionn Adequate
                           Total Claim                                              Senior to                                                   Payment    Protection
                                                                                   Creditor's                                                              Payments
                                                                                      Claim
 -NONE-

        e.        Maintenance of Payments and Cure of Default.

              Proofs of claim should reflect arrearage through the petition date. For accounts that are in default the Trustee will commence
              disbursements of installment payments the month after confirmation and any filed arrearage claims will be adjusted accordingly.
              Amounts stated on a proof of claim as adjusted to include post-petition payments through the month of confirmation, will control over
              any contrary amounts listed below for the installment payment and the arrearage.

                         Creditor                                                  Collateral                       Installment            Estimated Arrearage
                                                                                                                     Payment              Amount on Petition Date

 -NONE-
The Debtor requests that the Court determine the value of the secured claims listed as set forth in Sections 4.1.d, 4.2.d, and 4.3.d as applicable.
For each non-governmental secured claim listed above, the Debtor states that the value of the secured claim should be set out in the column
headed Amount of Secured Claim. For secured claims of governmental units only, unless otherwise ordered by the Court, the value of a secured
claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed above. For each listed claim,
the value of the secured claim will be paid in full with interest at the rate stated above.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Section 6 of this plan.
If the amount of a creditor’s secured claim is listed above as having no value, the creditor’s allowed claim will be treated in its entirety as an
unsecured claim under Section 6 of this plan. Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of
claim controls over any contrary amounts listed in Section 4.

The holder of any claim listed in Section 4 as having value in the column headed Amount of Secured Claim will retain the lien on the property
interest of the Debtor or the estate until the earlier of:

      (a) payment of the underlying debt determined under non-bankruptcy law, or

      (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

 Section 5:           Collateral to be Surrendered.

        a.        None. If none is checked, the rest of Section 5 need not be completed or reproduced.

 Section 6:           Nonpriority Unsecured Claims.

6.1 Nonpriority Unsecured Claims Not Separately Classified.

        Allowed nonpriority unsecured claims will be paid pro rata with payments to commence after priority unsecured claims are paid in full.

        a.       The estimated dividend to nonpriority unsecured claims is                      0    %.

        b.       The minimum sum of $                      will be paid pro rata to nonpriority unsecured claims due to the following:

                                Liquidation Value

                                Disposable Income

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                                Other

6.2 Separately Classified Nonpriority Unsecured Claims.

        a.        None. If none is checked, the rest of Section 6.2 need not be completed or reproduced.


 Section 7:           Executory Contracts and Unexpired Leases.


        a.        None. If none is checked, the rest of Section 7 need not be completed or reproduced.


 Section 8:           Local Standard Provisions.

8.1 a. The Trustee shall collect and disburse payments in accordance with the plan.
     b. Proofs of claim must be filed to receive disbursements pursuant to the plan. Any claim to be paid as secured must contain evidence of a
         properly perfected lien on property of the estate. If a claim is listed as secured and the creditor files an unsecured claim, the claim will be
         treated as unsecured.
     c. Any creditor holding an allowed secured claim and to whom the Debtor is surrendering property under the order confirming plan is
         granted relief from the automatic stay as to the property and relief from any co-debtor stay so the creditor may obtain possession and
         liquidate the property. Any net proceeds, after payment of liens and costs of liquidation, are to be forwarded to the Trustee.
     d. All payments being made by the Trustee on any claim secured by real or personal property shall terminate upon the lifting of the
         automatic stay with respect to the affected property.
     e. Notwithstanding the allowance of a claim as secured, all rights under Title 11 to avoid liens are reserved and confirmation of the plan is
         without res judicata effect as to any action to avoid a lien.
     f. Notwithstanding 11 U.S.C. § 1327(b), all property of the estate as specified by 11 U.S.C. §§ 541 and 1306 shall continue to be property of
         the estate following confirmation until the earlier of discharge, dismissal, or conversion of the case.
     g. Confirmation of the plan shall not prejudice the right of the Debtor or Trustee to object to any claim.
     h. The Debtor must promptly report to the Trustee and must amend the petition schedules to reflect any significant increases in income and
         any substantial acquisitions of property such as inheritance, gift of real or personal property, or lottery winnings.

8.2 THE FOLLOWING ADDITIONAL PROVISIONS ARE APPLICABLE TO THE HOLDER OR SERVICER (“HOLDER”) OF A CLAIM SECURED BY A DEED OF
     TRUST, A MORTGAGE OR SECURITY INTEREST IN REAL PROPERTY, OR A MOBILE HOME THAT IS THE DEBTOR’S PRINCIPAL RESIDENCE:

        a. The Holder, upon confirmation, is precluded from imposing late charges or other default related fees based solely on pre-confirmation
           default.

        b. If the Trustee is disbursing ongoing monthly installment payments, the Holder must apply each ongoing payment to the month in which
           the payment is designated.

        c. For any loan with an escrow account, the Holder must prepare and must send an escrow analysis annually to the Debtor, the Trustee and
           the Debtor’s attorney. The first escrow analysis must be filed with the proof of claim in accordance with Bankruptcy Rule 3002.1. The
           escrow analysis should not include any amounts that were included or should have been included in the arrearage claim.

        d. The Holder shall continue to send monthly statements to the Debtor in the same manner as existed pre-petition and such statements will
           not be deemed a violation of the automatic stay.

        e. The Holder is required, upon request, to provide account information to the Trustee within 21 days of the request and failure to provide
           a timely response may result in an order requiring the Holder to appear and show cause as to why Holder should not be sanctioned for
           failure to comply.

        f. Nothing herein shall modify Holder’s responsibilities under Bankruptcy Rule 3002.1.

        g. Unless the Court orders otherwise, an order granting a discharge in the case shall be a determination that all pre-petition and
           post-petition defaults have been cured and the account is current and reinstated on the original payment schedule under the note and
           security agreement as if no default had ever occurred.
        h. PENALTY FOR FAILURE OF HOLDER TO COMPLY WITH THE REQUIREMENTS OUTLINED IN BANKRUPTCY RULE 3002.1.
           Without limitation to the Court’s authority to afford other relief, any willful failure of the Holder to credit payments in the manner
           required by Bankruptcy Rule 3002.1 or any act by the creditor following the entry of discharge to charge or collect any amount incurred or
           assessed prior to the filing of the Chapter 13 Petition or during the pendency of the Chapter 13 case that was not authorized by the order


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             confirming plan or approved by the Court after proper notice, may be found by the Court to constitute contempt of Court and to be a
             violation of 11 U.S.C. § 524(i) and the injunction under 11 U.S.C. § 524(a)(2).

 Section 9:           Nonstandard Plan Provisions.

             a.                 None. If none is checked, the rest of Section 9 need not be completed or reproduced.


By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) certify(ies) that the wording and order of
the provisions in this Chapter 13 Plan are identical to those contained in MDNC Local Form 113, other than any nonstandard provisions included
in Section 9.

Signature(s):

If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for the
Debtor(s), if any, must sign below.

 X      /s/ Artis Lewis McDougald                                             X
        Artis Lewis McDougald                                                       Signature of Debtor 2
        Signature of Debtor 1

        Executed on           October 30, 2019                                      Executed on
                              mm/dd/yyyy                                                           mm/dd/yyyy


 /s/ A.B. Harrington, III                                                          Date:   October 30, 2019
 A.B. Harrington, III 1913
 Signature of Attorney for Debtor(s)

 Address:              Post Office Box 1072
                       311 N Horner Blvd
                       Sanford, NC 27331
 Telephone:            919-775-3447
 State Bar No:         1913 NC




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                                                                     UNITED STATES BANKRUPTCY COURT
                                                                      Middle District of North Carolina

 In re: Artis Lewis McDougald                                                     )        Case No.
                                                                                  )
        5150 Swanns Station Road                                                  )
                         (address)                                                )
        Sanford NC 27332-0000                                                     )        CHAPTER 13 PLAN
 SS# XXX-XX- xxx-xx-1841                                                          )
 SS# XXX-XX-                                                                      )
                                                                                  )
                                          Debtor(s)                               )

                                                                          CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the Notice to Creditors and Proposed Plan was served by first class mail, postage prepaid , to the following
parties at their respective addresses:

Reid Wilcox
Clerk of Court
U.S. Bankruptcy Court
Middle District of North Carolina
P.O. Box 26100
Greensboro, NC 27402
Richard M. Hutson, II
Chapter 13 Trustee
Durham Division
Post Office Box 3613
Durham, NC 27702-3613

 American Credit Acceptance
 Attn: Bankruptcy
 961 E Main St
 Spartanburg, SC 29302
 Atlantic Credit Inc
 Attn: Managing Agent / Officer
 Po Box 58570
 Raleigh, NC 27658
 Credit Management, LP
 Attn: Bankruptcy
 Po Box 118288
 Carrollton, TX 75011
 Diversified Consultants, Inc.
 Attn: Bankruptcy
 Po Box 679543
 Dallas, TX 75267
 Reginald S. Hinton
 Process Agent for NC Depart. of Revenue
 Post Office Box 2500
 Raleigh, NC 27640-5000
 Hughes Net
 Hughes Network Systems LLC
 Po Box 96874
 Chicago, IL 60693
 Internal Revenue Service
 Centralized Insolvency Operations
 PO Box 7346
 Philadelphia, PA 19101
 Jay B. Green, Esq
 908 E. Edenton St
 Raleigh, NC 27601
 Lee County Tax Office
 Attn: Tiffany Hayes
 Post Office Box 1968
 Sanford, NC 27331-1968
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 Millennium Automotive Group
 Attn: Managing Agent / Officer
 4511 Chapel Hill Blvd
 Durham, NC 27707
 NC Department of Revenue
 Office Services Division
 Bankruptcy Unit
 P.O. Box 1168
 Raleigh, NC 27602-1168
 OneMain Financial
 Attn: Bankruptcy
 Po Box 3251
 Evansville, IN 47731
 Portfolio Recovery
 Attn: Bankruptcy
 120 Corporate Blvd
 Norfold, VA 23502
 Regional Acceptance Co
 Attn: Bankruptcy
 Po Box 1487
 Wilson, NC 27858
 State Employee's Credit Union
 Lori Barnes
 Loss Mitigation Department
 Post Office Box 25279
 Raleigh, NC 27611
 State Employees Credit Union
 Attn: Managing Agent / Officer
 Po Box 25279
 Raleigh, NC 27611
 United Auto Credit Co
 Attn: Bankruptcy
 Po Box 163049
 Fort Worth, TX 76161
 US Attorney's Office Middle District
 101 South Edgeworth Street, 4th floor
 Greensboro, NC 27402-1858
 US Cellular
 Attn: Managing Agent / Officer
 8410 W. Brynmawr, ste 700
 Tulsa, OK 74146-5299
 Verizon Wireless
 Attn: Verizon Bankruptcy
 500 Technology Dr, Ste 500
 Weldon Springs, MO 63304

 Date      October 30, 2019                                                      /s/ A.B. Harrington, III
                                                                                 A.B. Harrington, III 1913




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